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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

KALDREN LLC,                                      )
                                                  )
                      Plaintiff,                  )
                                                  )
       v.                                         ) C.A. No. 17-1356 (VAC) (SRF)
                                                  )
EMBRAER EXECUTIVE JET SERVICES,                   )
LLC,                                              )
                                                  )
                      Defendant.                  )

                   STIPULATION OF DISMISSAL WITH PREJUDICE


       WHEREAS Plaintiff Kaldren LLC and Defendant Embraer Executive Jet Service, LLC

have agreed to the terms and conditions for a settlement of this action and have set forth those

terms and conditions in a settlement agreement;

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

parties, through their undersigned counsel, subject to the approval of the Court:

       1.      The Complaint in this action is voluntarily dismissed in its entirety with prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii);

       2.      This Court retains jurisdiction to enforce the settlement agreement; and

       3.      Each party shall bear its own attorneys’ fees and costs.
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STAMOULIS & WEINBLATT LLC                MORRIS, NICHOLS, ARSHT & TUNNELL LLP


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February 15, 2018
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              SO ORDERED this ____ day of ____________________, 2018.



                                           UNITED STATES DISTRICT JUDGE




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